Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 1 of 21




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:18-cv-02074-WYD-STV


   MASTERPIECE CAKESHOP INCORPORATED,
   a Colorado corporation; and
   JACK PHILLIPS,

         Plaintiffs,

   v.

   AUBREY ELENIS, Director of the Colorado Civil Rights Division, in
   her official capacity;
   ANTHONY ARAGON, as member of the Colorado Civil Rights
   Commission, in his official capacity;
   MIGUEL “MICHAEL” RENE ELIAS, as member of the Colorado
   Civil Rights Commission, in his official capacity;
   CAROL FABRIZIO, as member of the Colorado Civil Rights
   Commission, in her official capacity;
   CHARLES GARCIA, as member of the Colorado Civil Rights
   Commission, in his official capacity;
   RITA LEWIS, as member of the Colorado Civil Rights Commission,
   in her official capacity;
   JESSICA POCOCK, as member of the Colorado Civil Rights
   Commission, in her official capacity;
   AJAY MENON, as member of the Colorado Civil Rights
   Commission, in his official capacity; and
   CYNTHIA H. COFFMAN, Colorado Attorney General, in her official
   capacity,

         Defendants.



                                  SCHEDULING ORDER


              1. DATE OF CONFERENCE AND APPEARANCES OF COUNSEL
                             AND PRO SE PARTIES

         Date of Conference: January 15, 2019.
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 2 of 21




          Appearing for Plaintiffs: James A. Campbell and Jacob P. Warner, Alliance

   Defending Freedom, 15100 N. 90th Street, Scottsdale, AZ 85260, 480-444-0020.

          Appearing for Defendants: Assistant Solicitor General Grant T. Sullivan, Senior

   Assistant Attorney General Vincent E. Morscher, and Senior Assistant Attorney General

   Jacquelynn Rich Fredericks, Colorado Department of Law, 1300 Broadway, Denver, CO

   80203.

                              2. STATEMENT OF JURISDICTION

          Plaintiffs: This case raises federal questions under the First and Fourteenth

   Amendments to the United States Constitution and the Civil Rights Act of 1871, 42

   U.S.C. § 1983. This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343.

          Defendants: Defendants maintain that this Court lacks subject matter jurisdiction

   under Fed. R. Civ. P. 12(b)(1) as set forth in their motion to dismiss, ECF No. 64, but

   recognize that the Court has denied those portions of their motion after accepting the

   First Verified Amended Complaint’s allegations as true. See ECF No. 94. Defendants

   reserve their right to reassert these and other jurisdictional defenses based on

   information obtained in discovery or at hearing or trial.

                        3. STATEMENT OF CLAIMS AND DEFENSES

          Plaintiffs: Plaintiffs claim that Defendants have violated and continue to violate

   their rights under the First and Fourteenth Amendments to the United States

   Constitution. Defendants interpret the Colorado Anti-Discrimination Act, §§ 24-34-301 to

   –804, C.R.S. (2018) (“CADA”), to (1) force Plaintiffs (but not others like them) to create

   custom cakes expressing messages that violate their deepest beliefs and (2) ban

   Plaintiffs from publishing speech explaining the messages that they will not express


                                                2
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 3 of 21




   through their custom cakes and the religious reasons why. CADA’s publication bans

   also contain vague and overbroad language that is facially unconstitutional. And

   Defendants subject Plaintiffs to a biased and unfair administrative process. For these

   reasons, portions of CADA and Defendants’ application of CADA to Plaintiffs violate

   Plaintiffs’ rights—including their rights to free speech, free exercise of religion, due

   process, and equal protection—under the First and Fourteenth Amendments.

          Defendants: Recognizing that this Court has ruled otherwise when partially

   denying the motion to dismiss after accepting as true the allegations in the First Verified

   Amended Complaint, ECF No. 94, Defendants respectfully maintain that the Court lacks

   subject matter jurisdiction under Rule 12(b)(1) for at least two reasons. First, there is an

   ongoing civil enforcement proceeding by the Colorado Civil Rights Commission

   (collectively, the “Commission” or “Commissioners”) to decide a 2017 discrimination

   charge alleging that Plaintiffs violated CADA. As a result, this Court must abstain from

   exercising jurisdiction over Plaintiffs’ claims for equitable relief here based on the

   doctrine articulated in Younger v. Harris. Although the First Amended Verified Complaint

   contains mere allegations of bad faith on the part of the Defendants, Plaintiffs failed to

   provide any actual evidence of bad faith on their part sufficient to establish the bad faith

   exception to Younger abstention. Additionally, the exceptional circumstances exception

   to Younger abstention does not apply. Therefore, this Court must abstain from

   considering and deciding any of Plaintiffs’ claims for equitable relief.




                                                 3
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 4 of 21




          Second, Plaintiffs’ claims for equitable relief against the Attorney General are

   barred by Eleventh Amendment immunity due to the lack of any discretionary personal

   participation in the civil enforcement action related to the 2017 discrimination charge. 1

          Even if this Court possesses subject matter jurisdiction, Plaintiffs fail to state a

   claim as a matter of law. Specifically, the Division Director and Commission’s

   interpretation and enforcement of section 24-34-601(2)(a) of CADA, which prohibits

   discrimination in places of public accommodation, comports with the First Amendment

   and does not violate Plaintiffs’ free exercise rights under any as-applied theory, or their

   free speech rights under any as-applied or facial theory. The Division Director and

   Commission’s interpretation and enforcement of section 24-34-601(2)(a) and the

   selection criteria for new Commissioners in section 24-34-303(1)(b)(I)-(III) likewise

   comport with the Fourteenth Amendment and do not violate Plaintiffs’ due process

   rights under any as-applied or facial theory. Finally, the Division Director and

   Commission’s interpretation and enforcement of section 24-34-601(2)(a) does not

   violate Plaintiffs’ Fourteenth Amendment equal protection rights under any as-applied

   theory.

                                   4. UNDISPUTED FACTS

          Given that the Court recently decided Defendants’ motion to dismiss and

   Defendants have not yet answered the First Amended Verified Complaint, the parties

   have not yet agreed upon stipulated facts. The parties will explore stipulating to facts

   after the Defendants have filed their answer.



   1
     This Court previously ruled that Defendants are immune from Plaintiffs’ claims for
   damages and that the Eleventh Amendment bars claims against the Governor. ECF No.
   94.
                                                4
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 5 of 21




                               5. COMPUTATION OF DAMAGES

           Plaintiffs seek injunctive and declaratory relief to restore their constitutional

   freedoms. The Court dismissed Plaintiffs’ claims for monetary relief in its January 4,

   2019 order ruling on Defendant’s Rule 12(b)(1) motion to dismiss.

                    6. REPORT OF PRECONFERENCE DISCOVERY AND
                          MEETING UNDER FED. R. CIV. P. 26(f)

           a.     Date of Rule 26(f) meeting.

           The Rule 26(f) meeting occurred during emails exchanged on and before

   January 8, 2019.

           b.     Names of each participant and party he/she represented.

           James A. Campbell on behalf of Plaintiffs. LeeAnn Morrill, Grant T. Sullivan,

   Vincent E. Morscher, and Jacquelynn Rich Fredericks on behalf of Defendants.

           c.     Statement as to when Rule 26(a)(1) disclosures were made or will be

   made.

           The Court stayed the Rule 26(a)(1) disclosures deadline in its November 20,

   2018 minute order. ECF No. 79.

           d.     Proposed changes, if any, in timing or requirement of disclosures under

   Fed. R. Civ. P. 26(a)(1).

           Plaintiffs: Plaintiffs propose that initial disclosures under Fed. R. Civ. P. 26(a)(1)

   be exchanged by January 22, 2019.

           Defendants: Defendants propose that initial disclosures under Fed. R. Civ. P.

   26(a)(1) be exchanged no sooner than 14 days after the conclusion of the hearing on

   Plaintiffs’ amended motion for preliminary injunction.

           e.     Statement concerning any agreements to conduct informal discovery.

                                                 5
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 6 of 21




          None.

          f.      Statement concerning any other agreements or procedures to reduce

   discovery and other litigation costs, including the use of a unified exhibit numbering

   system.

          None.

          g.      Statement as to whether the parties anticipate that their claims or

   defenses will involve extensive electronically stored information, or that a substantial

   amount of disclosure or discovery will involve information or records maintained in

   electronic form.

          Because the Court recently entered its order concerning Defendants’ motion to

   dismiss under Fed. R. Civ. P. 12(b)(1), Defendants have not yet answered the

   Complaint, and discovery has not commenced, the parties are uncertain whether

   discovery will involve extensive electronically stored information. The parties agree to

   preserve and maintain all electronic records, including emails and other electronic

   documents, in their current form. The parties anticipate that any electronic records

   produced in response to discovery requests will be saved on a CD or flash drive for

   transmittal to opposing counsel.

          h.      Statement summarizing the parties’ discussions regarding the possibilities

   for promptly settling or resolving the case.

          The parties do not believe that a settlement conference or other form of

   alternative dispute resolution will be productive at this time.




                                                  6
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 7 of 21




                                          7. CONSENT

           All parties   □ [have]     X [have not] consented to the exercise of jurisdiction

   of a magistrate judge.

                                 8. DISCOVERY LIMITATIONS

           a.     Modifications which any party proposes to the presumptive numbers of

   depositions or interrogatories contained in the Federal Rules.

           Plaintiffs: Standard limitations in the Rules of Civil Procedure should apply.

           Defendants: Standard limitations in the Rules of Civil Procedure should apply,

   except that, consistent with Fed. R. Civ. P. Rule 1’s requirement of securing a just,

   speedy, and inexpensive determination, the limitations should be imposed per side. This

   is necessary as there are presently nine defendants and only two plaintiffs, and

   because the per party limits would unnecessarily multiple the discovery costs in this

   case.

           b.     Limitations which any party proposes on the length of depositions.

           None. Per Fed. R. Civ. P. 30(d)(1), each deposition will be limited to one (1) day

   of seven (7) hours.

           c.     Limitations which any party proposes on the number of requests for

   production and/or requests for admission.

           Plaintiffs: Standard limitations in the Rules of Civil Procedure should apply.

           Defendants: Standard limitations in the Rules of Civil Procedure should apply,

   except that, consistent with Fed. R. Civ. P. Rule 1’s requirement of securing a just,

   speedy, and inexpensive determination, the limitations should be imposed per side. This

   is necessary as there are presently nine defendants and only two plaintiffs, and


                                                7
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 8 of 21




   because the per party limits would unnecessarily multiple the discovery costs in this

   case.

           d.    Other Planning or Discovery Orders.

           Plaintiffs: During the December 18, 2018 hearing before Judge Daniel, he gave

   Plaintiffs permission to file an amended motion for preliminary injunction, and they plan

   to do that. Judge Daniel has asked the parties to propose a briefing and hearing

   schedule in connection with that motion and to submit that proposal by January 11,

   2019. Plaintiffs plan to propose that (1) they file their renewed motion for preliminary

   injunction by January 18, 2019, (2) Defendants file their response to that motion by

   February 1, 2019, (3) Plaintiffs file their reply by February 8, 2019, and (4) an

   evidentiary hearing on that motion, which is not expected to last longer than two (2)

   days, be set for the week of February 25, 2019.

           As contemplated at the December 18, 2018 hearing before Judge Daniel,

   Plaintiffs ask that the Court allow expedited discovery before the hearing on the

   amended motion for preliminary injunction. In particular, Plaintiffs ask that the Court

   allow both sides to designate and serve up to five (5) requests for production of

   documents and five (5) interrogatories that must be responded to within fifteen (15)

   days of service. Plaintiffs also ask that the Court allow each side to depose any

   individual that the other side intends to call as a witness at the evidentiary hearing on

   Plaintiffs’ amended motion for preliminary injunction and up to three (3) other

   individuals, and that all such depositions occur at least ten (10) days before that

   hearing. While these requests for production of documents, interrogatories, and




                                              8
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 9 of 21




   depositions would count against any discovery limits set by the Court, they do not

   restrict the parties’ ability to simultaneously conduct other discovery.

          Plaintiffs disagree with the limitations on the scope of expedited discovery that

   Defendants propose below. Before any of them are imposed, Plaintiffs request the

   opportunity to explain to the Court why they are improper and prejudicial.

          Defendants: Regarding the briefing schedule on Plaintiffs’ amended motion for

   preliminary injunction, Defendants propose that (1) Plaintiffs file their renewed motion

   for preliminary injunction by January 18, 2019, (2) Defendants file their response to that

   motion by February 8, 2019, (3) Plaintiffs file their reply by February 15, 2019, and (4)

   an evidentiary hearing on that motion, which is not expected to last longer than two (2)

   days, be set for the week of March 11, 2019.

          Defendants object to limited expedited discovery in the absence of a proper

   motion under Fed. R. Civ. P. 26(d), setting forth the reasons and need for such

   discovery. Defendants reserve the right to respond to any such motion. Alternatively,

   the Court should require Plaintiffs to establish at a motions hearing their need for

   expedited limited discovery outside of the presumptive limits and sequence of the Rules

   of Civil Procedure, and to take oral argument from both sides.

          Without waiving said objection, in the event the Court is inclined to grant limited

   expedited discovery, Defendants propose that any limited expedited discovery be

   limited, reciprocal, and bilaterally conducted. Defendants propose that the Court allow

   both sides to designate and serve up to five (5) requests for production of documents,

   inclusive of all sub-parts, that must be responded to within twenty-one (21) days of

   service. Defendants propose that no interrogatories, requests of admission, or


                                                9
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 10 of 21




   depositions on written questions be permitted during the limited expedited discovery

   period, if any.

            Regarding depositions during the limited expedited discovery window that the

   Court may allow, Defendants ask that the Court allow each side to depose up to four (4)

   deponents, inclusive of any Fed. R. Civ. P. 30(b)(6) depositions of Masterpiece

   Cakeshop, Inc., the Colorado Civil Rights Division (“Division”), or the Commission.

   Defendants request that any Fed. R. Civ. P. 30(b)(6) depositions of the Division or

   Commission be appropriately limited to the Division and Commission’s policies,

   procedures, and authentication of documents for each; Plaintiffs may not inquire about

   the mental impressions or processes of any individual Commissioner or Division

   employee as to any past, present, or future charges, or regarding any of their personal

   backgrounds or subjective beliefs about religion, gender, sexual orientation, gender

   transitions, or related topics. Relatedly, Defendants request that Plaintiffs be prohibited

   from deposing the Division Director or any Commissioner individually; if they are

   deposed as designees under Fed. R. Civ. P. 30(b)(6), then the above limitations should

   apply.

            Defendants request that the Attorney General not be subject to deposition,

   although Plaintiffs may conduct a Fed. R. Civ. P. 30(b)(6) deposition regarding the

   procedures for assigning counsel for the administrative complaint, provided the

   designee(s) will not be required to divulge confidential attorney work product, attorney-

   client privileged material, or their mental impressions as prosecutors assigned to any

   case. Defendants propose that depositions be completed at least fourteen (14) days

   before the expected evidentiary hearing on Plaintiffs’ amended motion for preliminary


                                               10
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 11 of 21




   injunction. Depending on who Plaintiffs notice for deposition, Defendants anticipate that

   it may be necessary to brief or argue procedural and substantive issues on an

   expedited basis to complete the contemplated expedited discovery schedule before the

   hearing on Plaintiffs’ amended motion for preliminary injunction, and it may be

   necessary to hold the depositions at the federal courthouse in Denver when the Court is

   available to resolve objections.

          Defendants propose that, although the requests for production of documents and

   depositions conducted during the expedited discovery period should count against the

   overall discovery limits set by the Court, no other discovery should be allowed to

   commence until after the preliminary injunction hearing is completed and the parties’

   initial disclosures have been made.

          Consistent with Fed. R. Civ. P. 1’s mandate that the Rules “be construed,

   administered, and employed by the court and the parties to secure [a] just, speedy, and

   inexpensive determination,” Defendants request that the discovery sought during the

   expedited discovery period, to the extent any is allowed, be appropriately tailored and

   limited to information relevant to this case only. Accordingly, Defendants request that

   the Court limit Plaintiffs to seeking discovery from Defendants only as it relates to

   events occurring after the June 4, 2018 announcement of Masterpiece Cakeshop, Ltd.

   v. Colo. Civil Rights Comm’n, 138 S. Ct. 1719 (2018) (“Masterpiece I”), in which the

   Court found that the Commission had not acted neutrally towards Plaintiffs in handling a

   separate charge. Events occurring pre-June 4, 2018, before the Commission had the

   benefit of Masterpiece I, are not relevant to the claims and defenses at issue here.




                                              11
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 12 of 21




         Finally, recognizing that Magistrate Judge Varholak previously ruled that the

   Colorado Open Records Act, §§ 27-72-200.1, et seq., C.R.S. (2018) (“CORA”) should

   remain available to Plaintiffs during this case and that Defendants have filed an

   objection with the district court judge, Defendants respectfully request that the Court

   enter an order (1) prohibiting Plaintiffs, their counsel, and all others working in concert

   with Plaintiffs and/or their counsel from utilizing the CORA to obtain records related to

   any facts, claims, or defenses at issue in this case from the Defendants, and any other

   agency, department, official, employee, or agent of the State of Colorado during the

   pendency of Case No. 1:18-cv-02074; and (2) stating that Defendants are not required

   to respond to any CORA request for records related to any facts, claims, or defenses at

   issue in Case No. 1:18-cv-02074 received from Plaintiffs, their counsel of record, or any

   others working in concert with Plaintiffs and/or their counsel of record on or after August

   14, 2018, including without limitation the requests dated August 29, August 30, and

   November 21, 2018, that were issued by Barry K. Arrington of the Arrington Law Firm.

   Because discovery is now progressing forward, circumstances have changed that now

   render it appropriate for the Court to manage the parties’ exchange of information

   through discovery only, not CORA.


                              9. CASE PLAN AND SCHEDULE

         a.     Deadline for Joinder of Parties and Amendment of Pleadings:

         March 15, 2019.

         b.     Discovery Cut-off:

         Plaintiffs: Plaintiffs propose that the discovery period open on January 16, 2019,

   and run for 154 days.


                                               12
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 13 of 21




          Defendants: Defendants propose that formal discovery—separate and apart

   from any limited expedited discovery that may be allowed—commence 14 days after the

   conclusion of the hearing on Plaintiffs’ amended motion for preliminary injunction, and

   run for 154 days.

          c.      Dispositive Motion Deadline:

          The parties propose that any dispositive motions be filed no later than 35 days

   following the close of discovery.

          d.      Expert Witness Disclosure:

                  1.      The parties shall identify anticipated fields of expert testimony, if

          any.

                  None.

                  2.      Limitations which the parties propose on the use or number of

          expert witnesses.

                  The parties do not expect to need expert witnesses. Should the need

          arise, the parties propose that no more than one (1) expert witness per side be

          allowed.

                  3.      If needed, the parties shall designate all experts and provide

          opposing counsel and any pro se parties with all information specified in Fed. R.

          Civ. P. 26(a)(2) on or before ninety-one (91) days before the discovery cut-off

          date.

                  4.      If needed, the parties shall designate all rebuttal experts and

          provide opposing counsel and any pro se party with all information specified in




                                                 13
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 14 of 21




         Fed. R. Civ. P. 26(a)(2) on or before thirty-five (35) days before the discovery

         cut-off date.

         e.       Identification of Persons to Be Deposed:

         Plaintiffs: Plaintiffs anticipate that depositions may be needed of the following

   witnesses:

              •   Aubrey Elenis

              •   Anthony Aragon

              •   Miguel “Michael” Rene Elias

              •   Carol Fabrizio

              •   Charles Garcia

              •   Rita Lewis

              •   Jessica Pocock

              •   Ajay Menon

              •   A Rule 30(b)(6) deposition of the Colorado Civil Rights Division

              •   A Rule 30(b)(6) deposition of the Colorado Civil Rights Commission

              •   Any other individuals, particularly employees, representatives, or agents of

                  the Division or Commission, identified during discovery as having relevant

                  information

              •   Any additional witness identified during discovery or designated to testify

                  at trial

         Defendants: Defendants anticipate that depositions may be needed of the

   following witnesses:

              •   Aubrey Elenis and/or a Rule 30(b)(6) deposition of the Division


                                                14
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 15 of 21




               •   Anthony Aragon and/or a Rule 30(b)(6) deposition of the Commission

               •   Jack Phillips

               •   A Rule 30(b)(6) deposition of Masterpiece Cakeshop Incorporated

               •   Debi Phillips

               •   Lisa Eldfrick

               •   Autumn Scardina

               •   Any additional lay or expert witness identified during discovery or

                   designated to testify at trial

          f.       Deadline for Interrogatories:

          The parties propose that Interrogatories must be served no later than 35 days

   before the discovery cut-off.

          g.       Deadline for Requests for Production of Documents and/or Admissions:

          The parties propose that Requests for Production of Documents and/or

   Admissions must be served no later than 35 days before the discovery cut-off.

                           10. DATES FOR FURTHER CONFERENCES

          A final pretrial conference will be held in this case sixty (60) days after the Court

   rules on any parties’ motion for summary judgment. A Final Pretrial Order shall be

   prepared by the parties and submitted to the Court no later than seven (7) days before

   the final pretrial conference.

                               11. OTHER SCHEDULING MATTERS

          a.       Identify those discovery or scheduling issues, if any, on which counsel

   after a good faith effort, were unable to reach an agreement.




                                                    15
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 16 of 21




          Plaintiffs: The parties disagree as to the limitations on interrogatories, requests

   for production of documents, and requests for admissions.

          The parties disagree over whether, when, and to what extent limited expedited

   discovery should be permitted in advance of the upcoming hearing on Plaintiffs’

   amended motion for preliminary injunction.

          Plaintiffs should not be prohibited from seeking information about the subjective

   views or thoughts of the Division Director or Commissioners because that information is

   relevant to their claims.

          Plaintiffs do not lose their right to access public records under CORA—a right

   available to all citizens in the state—simply because they have filed this lawsuit.

          Defendants: The default limitations on interrogatories, requests for production,

   and requests for admission should be modified so that the limitations are imposed per

   side, not per party. There are currently nine defendants and only two plaintiffs. The

   default “per party” limits would unnecessarily multiply the discovery in and cost of this

   case, contrary to Rule 1’s requirement of securing a just, speedy, and inexpensive

   determination. Such a result is especially untenable where, as here, the parties agree

   that this case primarily involves disputed questions of law.

          The parties disagree over whether limited expedited discovery should be

   permitted in advance of the upcoming hearing on Plaintiffs’ amended motion for

   preliminary injunction, as well as the scope and timing of such discovery. See Discovery

   Limitations, § 8.d, supra.

          Plaintiffs should not be permitted to depose the Attorney General because they

   cannot identify any subject or knowledge that is uniquely possessed by this Defendant.


                                                16
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 17 of 21




   He is a high ranking government official, not subject to deposition and furthermore any

   knowledge the Attorney General does have would be attorney-client privileged and

   work-product. Any information sought by Plaintiffs can be obtained through other

   means, such as a Rule 30(b)(6) deposition of the Division or Commission. See id.

          Plaintiffs should not be permitted to inquire into the mental processes or

   subjective beliefs of the Division Director or Commissioners. See id.

          Plaintiffs and persons acting in concert with Plaintiffs should not be permitted to

   utilize CORA to circumvent this Court’s discovery limits during the pendency of this

   case. See ECF Nos. 46, 85.

          b.      Anticipated length of trial and whether trial is to the court or jury.

          Plaintiffs: Plaintiffs anticipate that trial will take no more than four days and will

   be a bench trial.

          Defendants: Defendants anticipate that trial will take no more than three days

   and will be a bench trial.

          c.      Identify pretrial proceedings, if any, that the parties believe may be more

   efficiently or economically conducted in the District Court’s facilities at 212 N. Wahsatch

   Street, Colorado Springs, Colorado 80903-3476; Wayne Aspinall U.S. Courthouse/

   Federal Building, 402 Rood Avenue, Grand Junction, Colorado 81501-2520; or the U.S.

   Courthouse/Federal Building, 103 Sheppard Drive, Durango, Colorado 81303-3439.

          None.




                                                  17
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 18 of 21




                         12. NOTICE TO COUNSEL AND PRO SE PARTIES

             The parties filing motions for extension of time or continuances must comply with

   D.C.COLO.LCivR 6.1(c) by submitting proof that a copy of the motion has been served

   upon the moving attorney's client, all attorneys of record, and all pro se parties.

             Counsel will be expected to be familiar and to comply with the Pretrial and Trial

   Procedures or Practice Standards established by the judicial officer presiding over the

   trial of this case.

             With respect to discovery disputes, parties must comply with D.C.COLO.LCivR

   7.1(a).

             Counsel and unrepresented parties are reminded that any change of contact

   information must be reported and filed with the Court pursuant to the applicable local

   rule.

                          13. AMENDMENTS TO SCHEDULING ORDER

             The parties agree that this Scheduling Order may be altered or amended only

   upon a showing of good cause.


             DATED at Denver, Colorado, this 8th day of January, 2019.

                                                     BY THE COURT:


                                                     United States Magistrate Judge
                                                     Scott T. Varholak

   APPROVED:

   s/ James A. Campbell                            s/ Grant T. Sullivan
   James A. Campbell                               LeeAnn Morrill
   (Arizona Bar No. 026737)                        Acting Deputy Attorney General

                                                18
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 19 of 21




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   (North Carolina Bar No. 16317)        Senior Assistant Attorney General
   Jacob P. Warner                       Grant T. Sullivan
   (Arizona Bar No. 033894)              Assistant Solicitor General
   ALLIANCE DEFENDING FREEDOM            Jacquelynn Rich Fredericks
   15100 N. 90th Street                  Senior Assistant Attorney General
   Scottsdale, AZ 85260                  State Services Section
   (480) 444-0020                        1300 Broadway, 6th Floor
   (480) 444-0028 (facsimile)            Denver, CO 80203
                                         (720) 508-6000
   Attorneys for Plaintiffs
                                         Attorneys for Defendants




                                       19
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 20 of 21




                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 8, 2019, I electronically filed the foregoing

   SCHEDULING ORDER with the Clerk of Court using the CM/ECF system which will

   send notification of such filing to the following:


   LeeAnn Morrill
   First Assistant Attorney General
   Public Officials Unit
   State Services Section
   1300 Broadway, 6th Floor
   Denver, Colorado 80203
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                                                 20
Case 1:18-cv-02074-WYD-STV Document 95 Filed 01/08/19 USDC Colorado Page 21 of 21




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                                       21
